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           EXHIBIT L
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                                       Thermal Conductivity                          Introduction
                                                                                     Introduction
Thermal conductivity (λ) is the intrinsic property of a material which relates its   General
ability to conduct heat. Heat transfer by conduction involves transfer of energy     Classifications
within a material without any motion of the material as a whole. Conduction takes Metals
place when a temperature gradient exists in a solid (or stationary fluid) medium. Ceramics
Conductive heat flow occurs in the direction of decreasing temperature because Polymers
higher temperature equates to higher molecular energy or more molecular              Composites
movement. Energy is transferred from the more energetic to the less energetic
molecules when neighboring molecules collide.                                        Structure of
                                                                                     Materials
Thermal conductivity is defined as the quantity of heat (Q) transmitted through a Atomic Bonds
unit thickness (L) in a direction normal to a surface of unit area (A) due to a unit Solid State Structure
temperature gradient (ΔT) under steady state conditions and when the heat            Metallic Crystalline
transfer is dependent only on the temperature gradient. In equation form this        Structure
becomes the following:                                                               Solidification
                                                                                     Anisotropy and
       Thermal Conductivity = heat × distance / (area × temperature gradient)        Isotropy
                                                                                     Crystal Defects
                                  λ = Q × L / (A × ΔT)                               Elastic/Plastic
                                                                                     Deformation
Approximate values of thermal conductivity for some common materials are             Fatigue Crack
presented in the table below.                                                        Initiation
                                                                                     Diffusion
                                  Thermal Conductivity        Thermal Conductivity   Property Modification
  Material
                                        W/m, K o             (cal/sec)/(cm , C/cm) Ceramic Structures
                                                                           2 o
                                                                                     Polymer Structure
  Air at 0 C                              0.024                     0.000057         Composite Structures
  Aluminum                                205.0                        0.50
                                                                                     Physical and
  Brass                                   109.0                          -           Chemical Properties
  Concrete                                 0.8                        0.002          Phase
                                                                                     Transformation Temp
  Copper                                  385.0                        0.99          Density
  Glass, ordinary                          0.8                       0.0025          Specific Gravity
                                                                                     Thermal Conductivity
  Gold                                     310                           -           Thermal Expansion
  Ice                                      1.6                        0.005          Electrical
                                                                                     Conductivity
  Iron                                      -                         0.163
                                                                                     Magnetic Properties
  Lead                                    34.7                        0.083          Oxidation and
                                                                                     Corrosion
  Polyethylene HD                          0.5                           -
  Polystyrene expanded                                 0.03                                   -                  Mechanical
                                                                                                                 Properties
  Silver                                              406.0                                 1.01
                                                                                                                  -Loading
  Styrofoam                                            0.01                                   -
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                                                                                                           -Stress & Strain
  Steel                                                50.2                                  -
                                                                                                         Tensile
  Water at 20 C                                          -                                0.0014         Compression,
  Wood                                             0.12-0.04                              0.0001         Bearing, & Shear
                                                                                                         Hardness
                                                                                                         Creep & Stress
                                                                                                         Rupture
                                                                                                         Toughness
                                                                                                           -Impact Toughness
                                                                                                           -Notch Toughness
                                                                                                           -Fracture
                                                                                                         Toughness
                                                                                                         Fatigue
                                                                                                           -S-N Fatigue
                                                                                                           -Fatigue Crack
                                                                                                         Growth Rate

                                                                                                                 Selection of
                                                                                                                 Materials
                                                                                                                 Specific Metals
                                                                                                                  Metal Ores
                                                                                                                  Iron and Steel
                                                                                                                  Decarburization
                                                                                                                  Aluminum/Aluminum
                                                                                                                 Alloys
                                                                                                                  Nickel and Nickel
                                                                                                                 Alloys
                                                                                                                  Titanium and
                                                                                                                 Titanium Alloys

                                                                                                                 General
                                                                                                                 Manufacturing
                                                                                                                 Processes
                                                                                                                 Metallic Components
                                                                                                                 Ceramic and Glass
                                                                                                                 Components
                                                                                                                 Polymers/Plastic
                                                                                                                 Components
                                                                                                                 Composites

                                                                                                                 Manufacturing
                                                                                                                 Defects
                                                                                                                 Metals
                                                                                                                 Polymers
                                                                                                                 Composites

                                                                                                                 Service Induced
                                                                                                                 Damage
                                                                                                                 Metals
                                                                                                                 Polymers
                                                                                                                 Composites
                                                                                                                 Material
                                                                                                                 Specifications


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                                                                                                              Component Design,
                                                                                                              Performance and
                                                                                                              NDE
                                                                                                              Strength
                                                                                                              Durability
                                                                                                              Fracture Mechanics
                                                                                                              Nondestructive
                                                                                                              Evaluation

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